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 4

 5   Attorney for Defendant
     MANUEL HERRERA
 6
                     IN THE UNITED STATES MAGISTRATE COURT
 7

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             ) No. CR-S-11-CR-296 WBS
                                           )
                                           )
11                     Plaintiff,          ) STIPULATION AND PROPOSED
                                           ) ORDER TO TEMPORARILY RETURN
12                                         ) PASSPORT TO DEFENDANT TO
     vs.
                                           ) PERMIT TRAVEL TO MEXICO
13                                         )
     MANUEL HERRERA,                       )
14                                         )
                                           )
15                     Defendant.          )
                                           )
16                                         )

17         IT IS HEREBY STIPULATED AND AGREED between defendant Manuel
18   Herrera, by and through his undersigned defense counsel, John R. Manning,
19   Esq., and the United States of America by and through its counsel, Assistant
20   U.S. Attorney, Brian Fogerty, that the court shall return Mr. Herrera’s
21   passport to him on the date of the filing of the proposed order to permit Mr.
22   Herrera to travel to Mexico for the purpose of visiting his family. Mr. Herrera
23   will be traveling to Nayarit, Mexico on or after December 22, 2018 and he will
24   be returning to the United States no later than January 5, 2019 and must
25   surrender his passport to the court within 24 hours of returning to the United
26   States, but no later than January 6, 2019.
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 1        Accordingly, the parties respectfully request the Court adopt this
 2   proposed stipulation.
 3

 4   IT IS SO STIPULATED.
 5
     Dated: October 18, 2018                   /s/ John R. Manning
 6                                             JOHN R. MANNING
                                               Attorney for Defendant
 7                                             Manuel Herrera
 8
     Dated: October 18, 2018                   /s/ Brian Fogerty
 9                                             BRIAN FOGERTY
                                               Assistant United States Attorney
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12   IT IS SO ORDERED,

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14   Dated: October 22, 2018

15                                      EDMUND F. BRENNAN
                                        UNITED STATES MAGISTRATE JUDGE
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